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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                      )
SARAH CARR, et al.,                   )
                                      )
                   Plaintiffs,        )
                                      )
      v.                              )    Civil Action No. 06-0098 (ESH)
                                      )
DISTRICT OF COLUMBIA,                 )
                                      )
                   Defendant.         )
____________________________________)

                PLAINTIFFS’ NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1), and in accordance with the parties’

Class Action Settlement Agreement, as approved by this Court on August 1, 2011, Plaintiffs Sarah

Carr, Allyson Kirk (now Allyson Clapp), Chelsea Kirk, Jonathan Scolnik, and Matthew Singer

(“Class Representatives”), individually and on behalf of a class of persons similarly situated who

timely filed class claims pursuant to the Settlement Agreement (“Participating Class Members”)

hereby dismiss this action with prejudice.

Dated: October 27, 2011                            Respectfully submitted,

                                             By:   /s/ Emily P. Hughes
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